
USCA1 Opinion

	




          October 7, 1993                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 93-1092                                   JOSEPH F. DRUAN,                                Petitioner, Appellant,                                          v.                              UNITED STATES OF AMERICA,                                Respondent, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                    [Hon. Frank H. Freedman, U.S. District Judge]                                             ___________________                                 ____________________                                        Before                               Selya, Boudin and Stahl,                                   Circuit Judges.                                   ______________                                 ____________________            Joseph F. Druan on brief pro se.            _______________            A. John  Pappalardo, United States  Attorney, and Andrew  Levchuk,            ___________________                               _______________        Assistant United States Attorney, on brief for appellee.                                 ____________________                                 ____________________                      Per Curiam.  Appellant Joseph F. Druan appeals from                      __________            the denial of his  petition for habeas corpus filed  under 28            U.S.C.    2255.  After carefully reviewing the record and the            parties' briefs, we affirm the judgment of the district court            for essentially the reasons stated in its Order dated January            5, 1993.  We add to that decision the following comments.                      The district  court properly disposed of  this case            without a hearing.  "An  evidentiary hearing is not  required            where  the section 2255  petition, any accompanying exhibits,            and  the record  evidence `plainly  [reveal] .  . .  that the            movant is not entitled to relief. . . . '"  Barrett v. United                                                        _______    ______            States, 965  F.2d 1184,  1186 (1st  Cir. 1992)  (quoting Rule            ______            4(b), Rules  Governing Section  2255 Proceedings).   That is,            summary dismissal is appropriate where the grounds for relief            are not cognizable under   2255 or are merely bald assertions            without specific and particular factual allegations.  Id.  We                                                                  ___            agree with the district court that the petition was deficient            in both regards.                      Further, Druan did not submit any valid reasons why            he  now should be  relieved of the statements  he made in his            change-of-plea hearing.  See  Ouellette v. United States, 862                                     ___  _________    _____________            F.2d 371, 374 (1st Cir. 1988).  His claims in this regard are            based  on  facts with  which  the  district court  judge  was            familiar  because he  had presided  at both  the Rule  11 and            sentencing hearings.    As  such, he  was  entitled  to  make            findings  without  an  additional  hearing and  we  will  not            overturn his findings  absent clear error.  See  Barrett, 965                                                        ___  _______            F.2d  at 1186;  Panzardi-Alvarez v.  United States,  879 F.2d                            ________________     _____________            975, 985 n.8  (1st Cir.  1989), cert. denied,  493 U.S.  1082                                            ____________            (1990).   Under this standard  of review, the  district court            judge's findings  that Druan's guilty plea  was voluntary and            that his counsel provided  effective assistance are more than            adequately supported by the record.                      As  for Druan's  attempt to  argue that his    2255            petition  raised a  jurisdictional  issue because  no  "overt            acts" had occurred in Massachusetts, we note only that at the            change-of-plea hearing the government  plainly set forth  the            fact that the videotape, made in Connecticut, was transported            to  Massachusetts.    Druan, at  this  hearing,  specifically            agreed with this description of the facts.                      The judgment of the district court is affirmed.                                                            ________                                         -3-

